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 8                                    UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11    DONELL THOMAS HAYNIE,                             No. 2:23-cv-01077-KJM-CKD P
12                       Plaintiff,
13           v.                                         ORDER
14    CASSANDRA K. SYSOUVANH,
15                       Defendant.
16

17          Plaintiff is a state prisoner proceeding pro se in this civil rights action that was removed

18   from state court on June 5, 2023. The matter was referred to a United States Magistrate Judge as

19   provided by 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

20          On June 23, 2023, the magistrate judge filed findings and recommendations, which were

21   served on all parties and which contained notice to all parties that any objections to the findings

22   and recommendations were to be filed within fourteen days. Plaintiff has filed objections to the

23   findings and recommendations. See Objs. One, ECF No. 8; Objs. Two, ECF No. 9. Plaintiff

24   argues defendant’s notice of removal was untimely and requests the court remand the case back to

25   state court. Objs. One at 5.

26          In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule 304, this

27   court has conducted a de novo review of this case. Having reviewed the file, the court finds the

28   findings and recommendations to be supported by the record and by the proper analysis.
                                                        1
     Case 2:23-cv-01077-KJM-CKD Document 12 Filed 08/28/23 Page 2 of 2


 1   Additionally, the court finds defendant’s notice of removal was timely. Service of the complaint
 2   was effected on defendant on May 4, 2023. See Notice of Removal ¶ 5, ECF No. 1; Objs. One at
 3   3. Thus, the deadline to file a notice of removal fell on Saturday, June 3, 2023. See 28 U.S.C.
 4   §1446(b). Because the last day to file a notice of removal fell on a Saturday, the deadline was
 5   extended to Monday, June 5, 2023 when defendant filed the notice of removal. Fed. R. Civ. P.
 6   6(a)(1)(C) (“When the period is stated in days . . . include the last day of the period, but if the last
 7   day is a Saturday, Sunday, or legal holiday, the period continues to run until the end of the next
 8   day that is not a Saturday, Sunday, or legal holiday.”); see E.D. Cal. L.R. 101 (“‘Days’ are
 9   calculated pursuant to Fed. R. Civ. P. 6[.]”).
10          Accordingly, IT IS HEREBY ORDERED that:
11          1. The findings and recommendations filed June 23, 2023, are adopted in full.
12          2. The PREA violation alleged in the complaint is dismissed without leave to amend for
13   failing to state a claim upon which relief may be granted.
14          3. The remaining Eighth Amendment sexual assault claim against defendant is dismissed
15   without prejudice as duplicative of the pending second amended complaint in Haynie v. Esquerra,
16   Case No. 2:22-cv-02204-DB (E.D. Cal.).
17          4. The Clerk of the Court is directed to close this case.
18   DATED: August 25, 2023.
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